            Case 5:14-cv-01234-M Document 14 Filed 11/21/14 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

1) GO MART, INC.,                                   )
                                                    )
         Plaintiff,                                 )
                                                    )
versus                                              )
                                                    )
1) EMPLOYERS MUTUAL CASULATY                        )      Case No.    CIV-14-1234-M
   COMPANY,                                         )
2) ED BERRONG INSURANCE                             )
   AGENCY, INC., and                                )
3) LARRY DON UMBER,                                 )
                                                    )
         Defendants.                                )



                AMENDED STIPULATION OF PARTIAL DISMISSAL

         COMES NOW, Plaintiff and Defendants, pursuant to Rule 41 (a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, and stipulate to the dismissal without prejudice of

Defendants, Ed Berrong Insurance Agency, Inc., and Larry Don Umber.               Plaintiff

specifically reserves all claims and causes of actions as to any other Defendants named or

unnamed.

                                                        Respectfully submitted,



                                                        s/J.Drew Houghton__________________
                                                        J. DREW HOUGHTON, OBA #18080
                                                        FOSHEE & YAFFE
                                                        P. O. Box 890420
                                                        Oklahoma City, OK 73189
                                                        Telephone: (405) 232-8080
                                                        Facsimile: (405) 601-1103
                                                        dhoughton@fosheeyaffe.com
                                                        Attorneys for Plaintiff(s)



                                                1
           Case 5:14-cv-01234-M Document 14 Filed 11/21/14 Page 2 of 3



                                                    s/James K. Secrest, II_______________
                                                    James K. Secrest, II, OBA#8049
                                                    Edward J. Main, OBA#11912
                                                    Secrest, Hill, Butler & Secrest
                                                    7134 South Yale, Suite 900
                                                    Tulsa, OK 74136
                                                    Telephone:      918-494-5905
                                                    Facsimile:      918-494-2847
                                                    jsecrest@secresthill.com
                                                    emain@secresthill.com
                                                    Attorneys for Defendant, Ed Berrong
                                                    Insurance Agency, Inc.


                                                    s/Phil R. Richards__________________
                                                    Phil R. Richards, OBA#10457
                                                    Jessica N. Battson, OBA#22843
                                                    12th Floor, Park Centre Bldg.
                                                    525 S. Main Street
                                                    Tulsa, OK 74103
                                                    Telephone: 918-585-2394
                                                    Facsimile: 918-585-1449
                                                    prichards@richardsconnor.com
                                                    jbattson@richardsconner.com
                                                    Attorneys for Defendants, Employers
                                                    Mutual Casualty Company

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of November, 2014, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants and/or in accordance with the
Federal Rules of Civil Procedure:

       James K. Secrest, II, OBA#8049
       Edward J. Main, OBA#11912
       Secrest, Hill, Butler & Secrest
       7134 South Yale, Suite 900
       Tulsa, OK 74136
       Telephone:      918-494-5905
       Facsimile:      918-494-2847
       jsecrest@secresthill.com
       emain@secresthill.com
       Attorneys for Defendant, Ed Berrong
       Insurance Agency, Inc.



                                                2
   Case 5:14-cv-01234-M Document 14 Filed 11/21/14 Page 3 of 3



Phil R. Richards, OBA#10457
Jessica N. Battson, OBA#22843
12th Floor, Park Centre Bldg.
525 S. Main Street
Tulsa, OK 74103
Telephone: 918-585-2394
Facsimile: 918-585-1449
prichards@richardsconnor.com
jbattson@richardsconner.com
Attorneys for Defendants, Employers Mutual Casualty Company



                                      s/J.Drew Houghton__________________
                                      J. DREW HOUGHTON, OBA #18080




                                  3
